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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT

__________________________________________
HEATHER HICKEY                            )    3:10-cv-00911(VLB)
      Plaintiff                           )
                                          )
v.                                        )
                                          )
PORTFOLIO RECOVERY                        )
ASSOCIATES, LLC                           )
      Defendant                           )    JULY 29, 2010
_________________________________________ )

                NOTICE OF DISMISSAL WITH PREJUDICE

      Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(i), the plaintiff,

Heather Hickey, through her attorney, hereby gives notice that the

claims of the above-entitled action shall be dismissed with prejudice,

without costs or attorney’s fees.

                                    Plaintiff, Heather Hickey

                                    By/s/Daniel S. Blinn
                                    Daniel S. Blinn (ct02188)
                                    Consumer Law Group, LLC
                                    35 Cold Spring Road, Suite 512
                                    Rocky Hill, CT 06067
                                    (860) 571-0408
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                                    dblinn@consumerlawgroup.com
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                             CERTIFICATION

       I hereby certify that on this 29th day of July, 2010, a copy of
foregoing Notice of Dismissal was filed electronically and served
by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the
Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF
System.

                                    /s/Daniel S. Blinn
                                    Daniel S. Blinn
